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                          EXHIBIT F
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From: Jessica Phillips
Sent: Monday, July 15, 2019 1:48 PM
To: eli.f.mosley@gmail.com
Cc: Gabrielle E. Tenzer; Jessica Phillips; Michael Bloch
Subject: RE: Sines v. Kessler

Mr. Kline:

In its Order of July 3, 2019 (ECF No. 516), the Court ordered you to comply with several discovery obligations within
seven days, or by July 10, 2019, including to provide to Plaintiffs the SCA consent forms, to execute the Third‐Party
Discovery Vendor contract, and to provide to Plaintiffs the Certification Form attached as Exhibit A to the Imaging Order.
July 10 has now passed, and you have not taken any of those steps. If you do not send us your SCA consent forms and
Certification Form and if you do not execute the Third‐Party Discovery Vendor contract within 24 hours, we will
immediately notify the Court of your failure to comply with its Order.

We also call your attention to your upcoming deadlines as further outlined in the Court’s Order, including your deadline,
by this Wednesday, July 17, 2019, to make your Electronic Devices and Social Media Account credentials available to the
Third‐Party Discovery Vendor for imaging and collection.

Jessica E. Phillips
Partner

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From: Michael Bloch [mailto:mbloch@kaplanhecker.com]
Sent: Monday, July 1, 2019 8:32 PM
To: eli.f.mosley@gmail.com
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Cc: Gabrielle E. Tenzer
Subject: Sines v. Kessler

Mr. Kline:


       We are writing to provide information and materials to help you comply with the Court’s June 21 Order
concerning the pending motion for sanctions against you. The June 21 Order references its previous orders
that detail your obligations in discovery. Those orders are attached here for your convenience. (ECF Nos. 287,
379, 383, 440, and ECF No. 282, at 23‐24.)

        Regarding your discovery obligations, the June 21 Order requires, among other things, the following:

       Provide complete and accurate written answers or responses to Plaintiffs’ First Set of Interrogatories
        and Requests for Production of Documents, as required by the Court’s Order of March 26, 2108, ECF
        No. 224. Plaintiffs’ First Set of Interrogatories and Requests for Production of Documents are attached.

       Give Plaintiffs’ counsel a complete and accurate Stored Communications Act (“SCA”) consent form
        allowing Discord to produce any discoverable documents or electronically stored information (“ESI”) in
        response to Plaintiffs’ subpoenas, as required by the Court’s Order of November 13, 2018, ECF No. 379.
        A copy of the SCA consent that you must fill out is attached. Once you fill out the document, you must
        e‐mail it from the e‐mail address that is associated with the Discord account to sca@bsfllp.com. If you
        had or have more than one Discord account that contained potentially relevant documents, you must
        fill out a consent form for each account.

       Complete consent forms giving Plaintiffs’ counsel access to any other social media accounts (e.g.,
        Facebook, Twitter, Gab) that you used to communicate about the Events at issue in this lawsuit,
        regardless of whether those accounts have been disabled, suspended, or deleted. We have attached to
        this email an authorization form from Twitter that will allow data to be recovered from suspended or
        disabled accounts and sent to a third‐party vendor for imaging.

             o Please complete the attached consent form. Once the form is complete, please submit a
               request through the privacy form at https://help.twitter.com/forms/privacy. In the section of
               the form entitled, “Please enter the specific information you are requesting:”, you must do
               two things:
               (a) specify what content and data you are requesting (which should be identical to the data
               requested in the consent form). Specifically, the data you should request is as follows: Profile
               Data, Followers, Following, Tweets (and retweets), Replies, Notifications, Messages (Direct
               Messages or “DMs”), Any other items we would expect to find if we were viewing your live
               twitter account with full access and control.

                (b) list the discovery vendor’s email address as the email address where the content and data
                should be sent (bwilliams@idsinc.com and kkim@idsinc.com). (Note that in the section
                entitled, “The email address associated with your Twitter account”, the account‐holder must
                enter the email address associated with their suspended Twitter account ‐‐ not the discovery
                vendor’s email address.)
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           o It is important that the consent form is submitted via email before the privacy form request is
             submitted. After Twitter receives and validates both the paper consent form and the privacy
             form request, Twitter will email any requested and reasonably available content and data to
             the third‐party discovery vendor.

      Comply immediately with each of the following provisions in the Stipulation and Order for the Imaging,
       Preservation and Production of Documents, ECF No. 383 (“Imaging Order”), as required by the Court’s
       Orders of November 19, 2018, ECF No. 383 and March 4, 2019, ECF No. 440:

           o Execute the Third‐Party Discovery Vendor contract. That contract will be sent to you by the
             third‐party vendor via e‐mail.

           o Complete and provide to Plaintiffs’ counsel the Certification Form attached as Exhibit A to the
             Imaging Order, ECF No. 383, at 16. That document is attached.

           o Make available to the Third‐Party Discovery Vendor for imaging and collection any Electronic
             Devices or Social Media Account identified in the Defendant’s Certification Form. For any
             questions, contact Ken Kim at kkim@idsinc.com.

If we can further assist in your compliance with the Court’s orders regarding your discovery obligations, feel
free to contact me at this address.

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